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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                       HARRISONBURG DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )     Case No. 5:93CR30025
                                               )
v.                                             )           OPINION
                                               )
IVAN JULIAN STEVENSON,                         )     By: James P. Jones
                                               )     United States District Judge
                  Defendant.                   )

      Ivan Julian Stevenson, Pro Se Defendant.

      The defendant, a federal inmate proceeding pro se, has filed a Motion to

Vacate, Set Aside, or Correct Sentence, pursuant to 28 U.S.C. § 2255, asserting

that under Alleyne v. United States, 133 S. Ct. 2151 (2013), he is entitled to a

reduction of his criminal sentence of imprisonment.         Upon review of the motion

and court records, I find that the § 2255 motion must be dismissed as successive. 1

      This court may consider a second or successive § 2255 motion only upon

specific certification from the United States Court of Appeals for the Fourth

Circuit that the claims in the motion meet certain criteria. See § 2255(h). Court


      1
         Stevenson also argues that if he is not allowed to proceed with a new § 2255
motion, I should reopen his initial § 2255 proceedings under Rule 60(b) of the Federal
Rules of Civil Procedure. I find no merit to this argument. Because Stevenson is raising
new claims for relief from his sentence under § 2255, rather than asserting any deficiency
in the prior § 2255 proceedings, his current submission is properly considered as a
successive § 2255 motion rather than a Motion for Relief from Judgment under Rule
60(b). See Gonzales v. Crosby, 545 U.S. 524, 531-32 (2005).
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records indicate that Stevenson previously filed a § 2255 motion concerning this

same conviction and sentence, which the court denied. See Stevenson v. United

States, Case No. 7:01CV00495 (W.D. Va. July 9, 2001) (finding § 2255 claim

without merit because Apprendi v. New Jersey, 530 U.S. 466 (2000), did not apply

retroactively to Stevenson’s case already final), appeal dismissed, F. App’x 173

(4th Cir. 2001), cert. denied, 536 U.S. 934 (2002).       As Stevenson offers no

indication that he has obtained certification from the court of appeals to file a

second or successive § 2255 motion, I must dismiss his current action without

prejudice.

                                             DATED: July 2, 2014

                                             /s/ James P. Jones
                                             United States District Judge




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